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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                         LAKE CHARLES DIVISION


STEVEN HARRINGTON                            :         CIVIL ACTION NO. 20-00048


VERSUS                                       :         JUDGE JAMES D. CAIN, JR.


CROWLEY OFFSHORE                             :         MAGISTRATE JUDGE KAY
SERVICES, ET AL


                                     JUDGMENT

      For the reasons stated in the Report and Recommendation [doc. 23] of the

Magistrate Judge previously filed herein and after an independent review of the record, a

de novo determination of the issues, and consideration of the objections filed herein, and

having determined that the findings are correct under applicable law;

      IT IS ORDERED that the Motion to Remand is GRANTED.

      THUS DONE AND SIGNED in Chambers this 18th day of September, 2020.


                    _______________________________________
                              JAMES D. CAIN, JR.
                       UNITED STATES DISTRICT JUDGE
